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9    Attorneys for Plaintiff DMF, Inc.
10
                    IN THE UNITED STATES DISTRICT COURT
11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      DMF, Inc., a California corporation,     Civil Action No. 2:18-cv-07090-
13                                             CAS-GJS
                  Plaintiff,
14
            v.                            NOTICE OF MOTION AND
15                                        MOTION FOR PRELIMINARY
      AMP Plus, Inc. d/b/a ELCO Lighting, INJUNCTION AGAINST
16    a California corporation; and       PATENT INFRINGEMENT
17    ELCO Lighting Inc., a California         Date: December 17, 2018
      corporation,                             Time: 10:00 a.m.
18                                             Hon. Christina A. Snyder
                  Defendants.                  Courtroom: 8D, 350 West First Street
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28
                                             -1-             Motion For Preliminary Injunction
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1    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
2          PLEASE TAKE NOTICE that on December 17, 2018, at 10:00 a.m. in
3    Courtroom 8D of the United States District Court for the Central District of
4    California, located at 350 West First Street in Los Angeles, California, Plaintiff
5    DMF Inc. (“DMF”) will and hereby does move the Court for an order granting a
6    preliminary injunction:
7          (1) prohibiting Defendants AMP Plus, Inc. dba ELCO Lighting and ELCO
8              Lighting Inc. (collectively “ELCO”) and all those acting in concert with
9              ELCO from making, selling, offering to sell, selling, importing into the
10             United States or supplying from the United States ELCO’s ELL LED
11             Modules Model Nos. 08xx or 11xx (including ELL0827, ELL0830,
12             ELL0835, ELL0840, ELL08SD, ELL1127, ELL1130, ELL1135, ELL1140
13             and ELL11SD) referred herein as “the ELCO LED Modules”, ELCO’s
14             interim design for the ELCO LED Modules, which add a conical metal
15             piece to the back part of these modules (“the Interim ELCO LED
16             Modules”), or any product that is no more than colorably different from
17             the ELCO LED Modules or Interim ELCO LED Modules;
18         (2) ordering that ELCO and all those acting in concert with ELCO are
19             prohibited from inducing anyone to perform the prohibited actions
20             identified in the foregoing paragraph;
21         (3) ordering that ELCO recall all ELCO LED Modules and Interim ELCO LED
22             Modules that have entered the United States on or after the date of the filing
23             of the Complaint in this case to the extent that such devices have not been
24             installed in a building by the date of this Order; and
25         (4) ordering that ELCO shall, within ten days from the date of issuance of this
26             Preliminary Injunction, provide notice and a copy of this Preliminary
27             Injunction to all subsidiaries, affiliates, officers, directors, employees,
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                                             -2-                 Motion For Preliminary Injunction
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1             principals, agents, customers, sales representatives, distributors, online
2             retailers, online discounters, manufacturers, and attorneys that may have
3             any involvement in designing, developing, making, having made, using,
4             marketing, selling, servicing, or promoting LED modules, trims designed
5             to twist and lock onto modules, or housings designed to house LED
6             modules, as well as any other person or entity acting in active concert or
7             participation with ELCO with respect to any of the activities enjoined here.
8          This Motion is based upon this Notice and Motion, the accompanying
9    Memorandum of Points and Authorities, any Reply filed in support of this Motion,
10   the declarations of James Benya, Chip Israel, Peter Maciel, Michael Danesh,
11   Benjamin Chen, and Ben Davidson filed concurrently herewith, the Notice of
12   Lodging of Exhibits filed concurrently herewith, the proposed order granting
13   preliminary injunction filed concurrently herewith, and upon such other evidence
14   and oral argument as may be received by the Court.
15
16                                         Respectfully submitted,
17
18   Dated: November 14, 2018         By: /s/ Ben M. Davidson
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                                           -3-                 Motion For Preliminary Injunction
